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 UNITED STATE DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 ESTEBAN MARQUEZ,                                                  Case No. 20-CV-5855
                           Plaintiff,
                                                                   AFFIDAVIT OF MEHANGA
         -against-                                                 SINGH IN SUPPORT OF
                                                                   MOTION TO VACATE
 INDIAN TAJ, INC. d/b/a SANTOOR INDIAN                             DEFAULT AND DISMISS
 RESTAURANT, BALVINDER SINGH,                                      COMPLAINT
 HARMINDER SIGNH, JOGINDER SINGH,
 KIRPAL SINGH and MEHANGA SINGH,


                            Defendants.
 ----------------------------------------------------------X

 STATE OF NEW YORK                  )
                                    ) ss.:
 COUNTY OF NASSAU                   )

         I, Mehanga Singh, having been duly sworn, depose and swear that the following statements

 are true:

         1.       I am personally named as a defendant in this action and, therefore, I am fully

 familiar with the statements set forth herein.

         2.       I only recently became aware of this lawsuit through attempts to enforce a judgment

 against me and when Joginder Singh contacted my son-in-law for information about when I sold

 my interest in Santoor restaurant. Prior to these events, I did not know that this lawsuit existed

 and, if I had, I would have never defaulted as I am not responsible for any of the claims made

 against me by Mr. Marquez.

         3.       I have reviewed the affidavit of service (Exhibit B) where the plaintiff claims to

 have served me. It states that plaintiff served my alleged “co-worker” at 257-05 Union Turnpike

 in Glen Oaks, New York on May 18, 2021.



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        4.      257-05 Union Turnpike is the location of a restaurant that I formerly partially

 owned called Santoor Indian Restaurant (“Santoor”). However, I sold my entire twenty five

 percent (25%) interest in Santoor to Kirpal Singh in May 2014. Since May 2014 I have not owned

 any interest in Santoor, worked at Santoor, managed Santoor or been involved with operating

 Santoor. Therefore, I had no co-workers at Santoor on May 18, 2021, and, in fact, had no co-

 workers at that location for seven years before the service was made there.

        5.      The affidavit of service also states that a copy of the complaint was mailed to me

 at the same 257-05 Union Turnpike address in May 2021. Because I had sold my interest seven

 years prior, I of course did not receive mail there and never received any mailing from the

 restaurant. I never received any such complaint from any alleged “co-worker” nor in the mail.

        6.      Had I actually been served; I would have been able to assert these facts to the Court

 and ask that all claims against me be dismissed.

        7.      Because I sold my interest in May 2014, and did not learn of this lawsuit until

 recently, more than ten (10) years had passed between the sale and my learning of the lawsuit. I

 have searched my records but been unable to locate any records of the sale because of the passage

 of time. However, my son-in-law, Jagdev Singh, did locate a power of attorney that I signed on

 May 9, 2014 to allow him to attend the closing on my behalf because I was not available to attend.

 Jagdev did attend the closing on my behalf. I have no records from the restaurant and would not

 be able to address the specific allegations made by Mr. Marquez other than to state that I was no

 longer involved with the restaurant during the time of his complaints.

        8.      The same day that I sold my interest in Santoor my former partner, Joginder Singh,

 also sold his 25% interest.




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        9.      My attorney has shown me a “Shareholders Agreement of Indian Taj, Inc.” that I

 understand he acquired through discovery in this lawsuit. A true and accurate copy of the

 Shareholders Agreement that I reviewed is annexed hereto as Exhibit C. That document notarized

 on August 21, 2020, and signed by Kirpal Singh and Harminder Singh, confirms everything I have

 stated here.

        10.     First, the opening paragraph of the Shareholders Agreement confirms that Kirpal

 Singh (at that time) owned 75% of Indian Taj, Inc. (the name of the corporation that operated as

 Santoor). This is because we were all 25% shareholders until I sold my 25% to Kirpal in May

 2014 and Joginder sold his 25% to Kirpal in May 2014. That is how Kirpal acquired 75% as

 reflected in the Shareholders Agreement. The remaining 25% was owed by Harminder Singh as

 reflected in the Shareholders Agreement. The document therefore is clear that the business was

 100% owned by Harminder and Kirpal at least as of the date of that agreement (August 21, 2020).

 I could therefore have not been an owned of Santoor when I was allegedly served there through

 my “co-worker.”

        11.     Second, the Shareholders Agreement states that Harminder and Kirpal were selling

 the restaurant. So not only was I not an owner of the restaurant in May 2021 when I was allegedly

 served but it appears that none of my former partners were either and that it was a third party that

 owned the restaurant in May 2021.

        12.     It is my understanding that an amended complaint in this action was filed on April

 8, 2021 and that is the first time my name was brought into this lawsuit.

        13.     It is also my understanding that the first cause of action for alleged violations of the

 FLSA look back for a period of three years. I did not own, operate, manage or work at the

 restaurant in the three years prior to April 8, 2021.



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